Filed 8/23/24 P. v. Best CA2/4

            NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.


         IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                  SECOND APPELLATE DISTRICT

                                                DIVISION FOUR


 THE PEOPLE,                                                            B330811

           Plaintiff and Respondent,                                    (Los Angeles County
                                                                         Super. Ct. No. 3PB02445)
           v.

 KIRAN BEST,

           Defendant and Appellant.


         APPEAL from a judgment of the Superior Court of Los Angeles County,
Jeffrey S. Cohen-Laurie, Judge. Dismissed.
         C. Matthew Missakian, under appointment by the Court of Appeal, for
Defendant and Appellant.
         Rob Bonta, Attorney General, Lance E. Winters, Chief Assistant
Attorney General, Susan Sullivan Pithey, Assistant Attorney General,
Jonathan J. Kline and Charles Chung, Deputy Attorneys General, for
Plaintiff and Respondent.
      Defendant Kiran Best was placed on postrelease community
supervision (PRCS)1 after serving his time for a felony offense in state prison.
On appeal, defendant challenges the court’s denial of his request to modify
terms of his PRCS. The Attorney General contends the appeal is moot
because defendant is no longer on PRCS. We agree and decline to exercise
our discretion to reach the merits. Therefore, the appeal is dismissed.


            FACTUAL AND PROCEDURAL BACKGROUND
      In May 2018, pursuant to a plea agreement, defendant pled no contest
to felony assault by means likely to produce great bodily injury (Pen. Code,
§ 245, subd. (a)(4)). The trial court sentenced him to 364 days in jail and five
years’ probation. In December 2021, the court found defendant had violated
his probation and sentenced him to three years in state prison.
      After defendant was released from prison, he was placed on PRCS
under the supervision of the Los Angeles County Probation Department
(Probation Department). The Probation Department submitted a housing
referral on his behalf, resulting in a placement at the Pathways Sober Living
housing facility (Pathways). As a condition of his residence, defendant signed
a document agreeing to forfeit his landlord-tenant rights and to reside at
Pathways as a guest.




1     “PRCS supervision was established as an element of the Criminal
Justice Realignment Act of 2011 (enacted by Stats. 2011, ch. 15, §§ 1, 450,
amended by Stats. 2011, ch. 361, § 6.7 and Stats. 2012, ch. 43, § 27). The
Criminal Justice Realignment Act of 2011 made significant changes to the
sentencing and supervision of persons convicted of felony offenses and shifted
responsibility for the custodial housing and postrelease supervision of certain
felons from the state to the local jails and probation departments.
[Citations.]” (People v. Jones (2014) 231 Cal.App.4th 1257, 1266.)
                                       2
      Defendant subsequently violated Pathway’s rules and the program
operator discharged him from the facility. Defendant refused to move.
Pathways informed defendant’s probation officer of the rules violation and his
refusal to comply with the agreed upon terms of his housing. The probation
officer told defendant to leave Pathways. Defendant again refused to leave
the facility. The Probation Department arrested defendant for failing to
comply with its instructions and filed a petition to revoke his supervision.
The People were unable to proceed with the petition and it was later
dismissed.2 Defendant was then released back on PRCS under the same
terms and conditions.3
      On May 31, 2023, defendant filed, in pro. per., a petition to modify the
terms of his PRCS. As relevant here, he sought “injunctive relief to prevent
the [P]robation [D]epartment from interfering with [his] housing.” After an
evidentiary hearing, the trial court denied the motion. The court reasoned it
did not “have jurisdiction to hear such an issue,” but noted that defendant
might have “another remedy in a different court.”
      Defendant timely appealed.


                                 DISCUSSION
      “As a general rule, ‘“‘the duty of this court, as of every other judicial
tribunal, is to decide actual controversies by a judgment which can be carried
into effect, and not to give opinions upon moot questions or abstract
propositions, or to declare principles or rules of law which cannot affect the



2      The reason as to why the People were unable to proceed with the
petition to revoke defendant’s supervision is not in the appellate record.
3     The terms and conditions of defendant’s PRCS are not included in the
appellate record.
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matter in issue in the case before it.’”’ (Eye Dog Foundation v. State Board of
Guide Dogs for the Blind (1967) 67 Cal.2d 536, 541.) Thus, an ‘“action that
originally was based on a justiciable controversy cannot be maintained on
appeal if all the questions have become moot by subsequent acts or events.”’
(Building a Better Redondo, Inc. v. City of Redondo Beach (2012) 203
Cal.App.4th 852, 866; see also Giles v. Horn (2002) 100 Cal.App.4th 206, 226–
227.) Put another way, ‘“[a]n appeal should be dismissed as moot when the
occurrence of events renders it impossible for the appellate court to grant
appellant any effective relief.”’ (Brown v. California Unemployment Ins.
Appeals Bd. (2018) 20 Cal.App.5th 1107, 1116, fn. 6.)” (People v. Pipkin
(2018) 27 Cal.App.5th 1146, 1149–1150.) Here, defendant acknowledges that
appellate courts generally decide only actual controversies. He further
concedes that this matter is “technically moot” because he is no longer on
PRCS.
      Nevertheless, defendant urges us to reach the merits of his challenge,
arguing that it involves an important matter of public interest that is likely
to recur, yet evade review. (Building a Better Redondo, Inc. v. City of
Redondo Beach, supra, 203 Cal.App.4th at p. 867.) This case does not fall
into that category. The trial court’s ability to enjoin the Probation
Department from involving itself in the circumstances of defendant’s housing
involves “a particular factual determination that must be resolved on a case-
by-case basis, dependent upon the specific facts of a given situation.” (Giles
v. Horn, supra, 100 Cal.App.4th at p. 228.) It is highly speculative whether
the same factual situation would likely occur with this defendant or another.
Thus, we decline to exercise our discretion to entertain this moot appeal.




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                           DISPOSITION
The appeal is dismissed.
NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS




                                    ZUKIN, J.
WE CONCUR:



CURREY, P. J.



MORI, J.




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